                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF DELAWARE


 DATACLOUD TECHNOLOGIES, LLC,
                      Plaintiff,
        v.                                            C.A. No. 21-164-VAC-MPT
 SQUARESPACE, INC.,
                      Defendant.



                   ORDER MODIFYING SCHEDULING ORDER (D.I. 44)

       At Wilmington, this 25th day of April, 2022. This matter being assigned to a

Vacant Judgeship and having been referred to Judge Thynge for limited purposes (D.I.

59);

       IT IS ORDERED that the following procedures governing courtesy copies shall

replace ¶ 5 of the Scheduling Order at D.I. 44:

              5.     Courtesy Copies. This matter has been assigned to a vacant

       judgeship, designated “VAC” on the docket. The parties have not consented to

       the jurisdiction of a magistrate judge. Pursuant to ¶ 5 of Standing Order 2022-

       VAC-1 (dated March 9, 2022) or ¶ 3 of Standing Order 2022-3 (dated March 16,

       2022), this matter is referred to this Judge for limited purposes. For the

       pleadings and all matters within the scope of the referral to this Judge, the

       parties shall provide the Court two (2) courtesy copies of all briefs and any other

       document filed in support of any briefs (i.e., appendices, exhibits, declarations,

       affidavits, etc.). Courtesy copies for matters outside the scope of the
      referral to this Judge (i.e., Rule 12 and case-dispositive motions) shall not be

      filed with the Court. This provision also applies to papers filed under seal. All

      courtesy copies shall be single-sided.



      IT IS FURTHER ORDERED that the following procedures for discovery disputes

with Judge Thynge in this matter shall replace ¶ 8.h. of the Scheduling Order at D.I. 44:

             8.     h.     Discovery Matters. Should counsel find they are unable to

      resolve a discovery matter or a dispute relating to a protective order, after

      holding a verbal meet-and-confer and making a reasonable effort to reach

      agreement with the opposing party on the matters or dispute, 1 the party seeking

      relief from the Court shall file a Motion for Discovery requesting a teleconference

      to resolve the discovery or protective order dispute. The Motion shall include the

      following information:

             •      A list of no more than three (3) discovery or protective order
                    matters for resolution;

             •      The date(s) of the verbal meet-and-confer between the parties;

             •      The format of the meet-and-confer (e.g., in person or by
                    telephone);

             •      The identity of counsel (including at least one Delaware Counsel
                    and at least one Lead Counsel per party) who participated in the
                    meet-and-confer; and

             •      At least three dates on which the parties are jointly available for a
                    teleconference

             The Court will thereafter order a discovery teleconference, and the


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        See D. Del. L.R. 7.1.1 (describing the averment of counsel to be filed with
nondispositive motions).
       following procedures shall apply:

              1.     Not less than seventy-two (72) hours prior to the conference,
                     excluding weekends and Court holidays, the party seeking relief
                     shall file a letter with the Court, not to exceed four (4) pages,
                     double-spaced in no less than 12 point f ont, outlining the issues in
                     dispute and its position on those issues, including proposed
                     solutions.

              2.     Not less than forty-eight (48) hours prior to the conference,
                     excluding weekends and Court holidays, any party opposing the
                     application for relief may file a letter, not to exceed four (4) pages,
                     double-spaced in no less than 12 point f ont, outlining that party’s
                     reason for its opposition and any proposed solutions.

              3.     Counsel shall provide a list of the teleconference participants, by
                     including the list on a separate page with the letters. This list will
                     not count as part of the page limitation for the letter submission.

              4.     Attachments/Exhibits. Generally, there should be limited
                     attachments or exhibits to the letters. In a protective order dispute,
                     only the provisions at issue should be attached. For disputes
                     relating to responses to certain discovery requests, only the
                     requests and responses in dispute as they exist at the time of the
                     letter submissions should be attached. Documentation of the
                     parties’ attempts to resolve and/or narrow the issues as
                     contained in letters or emails shall not be included. However,
                     cases/transcripts cited and relied upon in the letter subm ission may
                     be attached as exhibits.

              5.     To the extent factual issues are disputed or central to the Court’s
                     analysis,2 non-conclusory, sworn declarations, only to the extent
                     necessary to establish the facts, shall be attached as exhibit(s).

              6.     Protective Order disputes. For disputes related to the protective
                     order, the submissions shall include the party’s proposal of the
                     content for the disputed portion(s) only of the protective order.




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         For example, matters addressing attorney-client privilege, work product doctrine,
common interest doctrine, sufficiency of privilege log and other similar issues often involve
factual evidence for which affidavits may be required. See RCA v. Data General, C.A. No.
84-270-JJF, 1986 WL 15693 (D. Del. July 2, 1986); Willemijn Houdstermaatschaapij v.
Apollo Computers, Inc., 707 F. Supp. 1429 (D. Del. 1989).
      Should the Court find further briefing necessary upon conclusion of the

telephonic conference, the Court will order it. Alternatively, the Court may

choose to resolve the dispute prior to the conference and cancel the conference.



                                  /s/ Mary Pat Thynge
                                  Chief U.S. Magistrate Judge
